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 6
                                    UNITED STATES DISTRICT COURT
 7
                                    EASTERN DISTRICT OF CALIFORNIA
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 9
     UNITED STATES OF AMERICA,                        Cr.S. 15-209 GEB
10
                       Plaintiff,                    COURT: Hon. Judge Garland E. Burrell, Jr.
11                                                   DATE: March 24, 2017
            v.                                       TIME:  9:00 a.m.
12
     Ionel Pascan,                                  MEMORANDUM TO CONTINUE
13                                                 JUDGMENT & SENTENCING
                       Defendant.
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18
            Ionel Pascan is scheduled to be sentenced on March 24, 2017. Counsel is finalizing a
19
     short videotape with updated medical information to provide the Court at sentencing. The parties
20
     therefore ask that judgment and sentencing be continued to March 24, 2017 and that date is
21
     available with the Court. The parties ask that the Court adopt the following
22
     schedule:
23

24          Sentencing Memorandum:                       March 17, 2017
25
            Judgment and Sentencing:                     March 24, 2017
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27
     Date: February 26, 2017                                     Respectfully submitted,
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                                                     1
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 2                                                /s/ Shari Rusk
                                                  SHARI RUSK
 3                                                Attorney for Ionel Pascan
 4      IT IS SO ORDERED.
 5      Dated: February 27, 2017
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